Case 1:22-cv-08226-KPF Document101 Filed 02/11/25 Pagelof1

AO 154 (10/03) Substitution of Aitorney

UNITED STATES DISTRICT COURT

SOUTHERN

SECURITIES AND EXCHANGE COMMISSION,

Plaintiff (s),
Vv.
THEODORE FARNSWORTH,
Defendant (s),

Notice is hereby given that, subject to approval by the court,

Samuel J. Rabin, Jr., Esquire

NEW YORK

(Name of New Atlorney}

CONSENT ORDER GRANTING
SUBSTITUTION OF ATTORNEY

CASE NUMBER: 22-CV-8226-KPF

Theodore Farnsworth substitutes
(Pasty (s) Name)

, State Bar No, _273834 (Florida) as counsel of record in

Louis D. Greenstein, Esq., Benjamin A. O'Nell, Esq. Edward A. Southerling, Esq. and Jason Cowley, Esq.

place of

(Name of Attorney (3) Withdrawing Appearance)

Contact information for new counsel is as follows:

Firm Name: Rabin & Lopez, P.A.
Address: 1 SE 3rd Avenue, Sulte 2600, Miami, FL 33131
Telephone: (305) 358-1064 Facsimile _(395) 372-1644

E-Mail (Optional): _8i'@miamilawyer.com

I consent to the above substivition,

Date: S Me L2

T consent to being substituted.

Date: \/zi / 20257

I consent to the above substitution.

Date: j | 2 lear S

The substitution of attorney is hereby approved and so ORDERED.

Date:

(Signature of Party (s))

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ee ee of Forme) Attorney (8)

(Signature of New Attomey)

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[Note: A separate consent order of substitution must be filed by each new attorney wishing to enter au appearance]
